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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                     )
                                             )
   v.                                        )      USDC No. 21-cr-555 (RCL)
                                             )
Pamela Hemphill, defendant.                  )

                     UNOPPOSED MOTION TO CONVERT SENTENCING
                           FROM IN-PERSON TO REMOTE

        Defendant, through undersigned counsel Nathan I. Silver, II, Esq., (“counsel”) appointed

by this Court under the Criminal Justice Act, with opposition from the United States,

respectfully moves the Court to convert the sentencing from in-person to remote for the

following reason:

        Defendant moves to convert the sentencing hearing from in-person to remote (video

teleconferencing) (“VTC”) on May 24, 2022 at 10:30 o’clock p.m. The original sentencing was

set for May 18, 2022 by VTC before the Court sua sponte continued the hearing because that

date was no longer practicable for its own schedule. Defendant lives in Boise, Idaho. It would

pose an expensive hardship for her to travel to Washington, D.C. for the sentencing now set for

May 24.

        Chief Judge Beryl A. Howell’s Standing Order No. 9, issued and docketed on May 12,

2022, extended the use of VTC in criminal cases in contemplation of the expiration on May 13,

2022, of the CARES Act. See also Fed.R.Crim.Proc. 43(b)(2) (“Defendant’s Presence…When

Not Required”), permitting a defendant, after executing a written waiver and with the Court’s

consent, to appear by VTC, when charged only with misdemeanors.

        A proposed Order is attached.
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        WHEREFORE, the defendant moves the Court, without opposition from the United

States, to grant said relief.

                                       This pleading is,

                                     Respectfully submitted,

                                              /s/

                                     NATHAN I. SILVER, II
                                       Unified Bar #944314
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                                       Bethesda, MD 20817
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                                    CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on
Sonia Mittal, Esq., U.S. Attorney’s Office for the District of Columbia, attorney of record for the
government in the instant case, this 18th day of May, 2022.

                                                 /s/
                                       _______________________________
                                       Nathan I. Silver, II
